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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                                   BRUNSWICK DIVISION


UNITED STATES OF AMERICA
                                           )
       V.                                  )          CR 218-14

JESSICA TABUTEAU


                                    PLEA AGREEMENT


       Defendant Jessica Tabuteau, represented by her counsel Jason Clark, Esq.,

and the United States of America, represented by Assistant United States Attorney

Matthew'A. Josephson, have reached a plea agreement in this case. The terms and

conditions of that agi^eement are as follows.

1.     Guilty Plea


       Defendant agrees to enter a plea of guilty to a lesser-included offense contained

within Count One of the Indictment, Conspiracy to Possess with Intent to Distribute

and to Distribute a Quan tity of Cocaine, in violation of Title 21, United States Code,

Section 846. The government agrees to dismiss the remaining count(s) at sentencing.

2.     Elements and Factual Basis

       The elements necessary to prove the lesser-included offense charged in Count

One, Conspiracy to Possess with Intent to Distribute and to Distribute a Quantity of

Cocaine are:


       (1)     Two or more people in some way agreed to try to accomplish a shared
               and unlawful plan to possess a quantity of cocaine;

       (2)     the defendant, knew the unlawful purpose of the plan and willfully
               joined in it; and
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       (3)   the object of the unlawful plan was to possess with intent to distribute
             and to distribute a quantity of cocaine.

       Defendant agrees that she is, in fact, guilty of this offense. She agrees to the

accuracy of the following facts, which satisfy the required elements:

       Beginning on a date at least as early as December 19, 2016, and continuing up

to and including September 2018, the precise dates being unknown, in Glynn and

Mclntosh Counties, within the Southern District of Georgia, and elsewhere, the

defendant, Jessica Tabuteau, aided and abetted by Keneil King and Andrew Jackson,

aka "Drew," as well as others, known and unknown, with some joining the conspiracy

earlier and others joining later, did knowingly and intentionally combine, conspire,

confederate and agree with others, known and unknown, to possess with intent to

distribute and to distribute a quantity of cocaine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and 846.

3.     Possible Sentence

       Defendant's guilty plea will subject her to the following maximum possible

sentences:


       Count One, Lesser Included Offense: Conspiracy to Possess with Intent to

Distribute and to Distribute a Quantity of Cocaine:

       -Not more than 20 years of incarceration;
       -Not less than 3 years of supervised release, up to life;
       -A fine up to $1,000,000; and
       -A $100 mandatory special assessment.

4.     No Promised Sentence
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       No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

her plea of guilty if she receives a more severe sentence than she expects.

5.     Court's Use of Sentencing Guidelines

       The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Court will consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.           The Sentencing

Guidelines are based on^of Defendant's relevant conduct, pursuant to U.S.S.G. §

1B1.3, not just the conduct underlying the particular Count or Counts to which

Defendant is pleading guilty.

6.     Agreements Regarding Sentencing Guidelines

       a.    Use of Information

       Nothing in this agreement precludes the government from providing full and

accurate information to the Court and U.S. Probation Office for use in calculating the

applicable Sentencing Guidelines range. It is understand however, that information

received via U.S.S.G. § lBl.8 will not be used against the defendant, so long as the
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defendant is truthful and does not commit any conduct that is inconsistent with

acceptance of responsibility.

       b.    Acceptance of Responsibility

       The government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3El.l(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant s offense level is 16 or

greater prior to any reduction for acceptance of responsibility, the government will

move for an additional one-level reduction in offense level pursuant to Section

3El.l(b)ofthe Sentencing Guidelines based on Defendant's timely notification of her

intention to enter a guilty plea.

       c.    Quanti'tv of Drugs

       The government and Defendant agree to recommend to the U.S. Probation

Office and the Court at sentencing that, for purposes of Section 2D1.1 of the

Sentencing Guidelines, the offense involved at least 500 grams but less than 2

kilograms of cocaine.

       d.    Mitigating Role

       The government will not oppose a recommendation by the United States

Probation Office that the defendant receive a full four (4)level reduction for minimal

role reduction under U.S.S.G. § 3B1.2(a), if applicable.

7.     Cooperation

       a.    Complete and Truthful Cooperation
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       The defendant must provide full, complete, candid, and truthful cooperation in

the investigation and prosecution ofothers in state and federal court. Defendant shall

fully and truthfully disclose her knowledge of those offenses and shall fully and

truthfully answer any question put to her by law enforcement officers about those

offenses.

       This agreement does not require Defendant to "make a case" against any

particular person. Her benefits under this agreement are conditioned only on her

cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.


       b.     Motion for Reduction in Sentence Based on Cooperation

       The government, in its sole discretion, will decide whether Defendant's

cooperation qualifies as "substantial assistance" pursuant to U.S.S.G. § 5K1.1 or Fed.

R. Grim. P. 35 and thereby warrants the filing of a motion for downward departure

or reduction in Defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, will decide whether, and to what extent, Defendant's sentence should be

reduced. The Court is not required to accept any recommendation by the government

that the Defendant's sentence be reduced.

8.     Financial Obligations and Agreements

       a.     Special Assessment


       Defendant agrees to pay a special assessment in the amount to be ordered by

the Court, payable to the Clerk of the United States District Court, which shall be

due immediately at the time of sentencing.


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        b.    Required Financial Disclosures

        By the date that Defendant enters a guilty plea. Defendant shall complete a

financial disclosure form listing all her assets and financial interests, whether held

directly or indirectly, solely or jointly, in her name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents of those reports

with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        c.    Financial Examination

        Defendant will submit to an examination under oath on the issue of her

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        d.    No Transfer of Assets

        Defendant certifies that she has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon her by the Court at

sentencing. Defendant promises that she will make no such transfers in the future.

        e.    Material Change in Circumstances



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       Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing,

       f.    Enforcement


       Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment of the

Court in this case will be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

9.     Waivers


       a.    Waiver of Anneal

       Defendant entirely waives her right to a direct appeal of her conviction and

sentence on any ground. The only exceptions are that the Defendant may file a

direct appeal of her sentence if(1) the court enters a sentence above the statutory

maximum,(2)the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or(3) the Government appeals the
sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs

her attorney not to file an appeal.

       b.     Waiver of Collateral Attack
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        Defendant entirely waives her right to collaterally attack her conviction and

sentence on any gi'ound and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack her

conviction and sentence based on a claim of ineffective assistance of counsel.

        c.    FOIA and Privacv Act Waiver

        Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution of this case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and aD subsequent amendments thereto.

        d.    Fed. R. Crim. P. IKfl and Fed. R. Evid. 410 Waiver

        Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or her plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

10.     Defendant's Rierhts

        Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,


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including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

11.     Satisfaction with Counsel

        Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that her attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by her attorney.

12.     Breach of Plea Asrreement

        If Defendant fails to plead guilty, withdraws or attempts to withdraw her

guilty plea, commits any new criminal conduct following the execution of this
agreement, or otherwise breaches this agreement, the government is released from

all of its agreements regarding Defendant's sentence, including any agreements

regarding the calculation ofDefendant's advisory Sentencing Guidelines. In addition,

the government may declare the plea agreement null and void, reinstate any counts

that may have been dismissed pursuant to the plea agreement, and/or file new

charges against Defendant that might otherwise be barred by this plea agreement.

Defendant waives any statute-of-limitations or speedy trial defense to prosecutions

reinstated or commenced under this paragraph.

13.     Entire Agreement
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     This agreement contains the entire agreement between the government and

Defendant.

                        Signatures on following page




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                                BOBBY L. CHRISTINE
                                UNITEJ^TAaPES<CTrORNEY



Date                            Brian T. Raffertj^
                                Chief, Criminal Division




Date                            Matthew A. Josephson
                                Assistant United States Attorney




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        I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.



K            I?;
Datfe    '                              Jcj'sdica Tabuteau
                                        D^ndant


        I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with her. I believe that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntaiy one.




Date                                  /Jason Clark, Esq.
                                       Defendant's Attorney




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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION



 UNITED STATES OF AMERICA

                    V.                                     CR: 218-14

 JESSICA TABUTEAU



                                       ORDER


      The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change her plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

      ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



             This        . day of




                                    LteA g6dBEY WOOD
                                    JUQ0E, UNITED STATES DISTRICT
                                    SOUTHERN DISTRICT OF GEORGIA
